                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA

 In re:                                           )
                                                  ) Chapter 11
      SARAI SERVICES GROUP, INC.,                 )
                                                  ) Case Number: 18-82948-CRJ11
 Debtor.                                          )
 In re:                                           )
                                                  ) Chapter 11
               SSG WW JV LLC,                     )
                                                  ) Case Number: 18-82949-CRJ11
 Debtor.                                          )
 In re:                                           )
                                                  ) Chapter 11
               CM HOLDING, INC.,                  )
                                                  ) Case Number 18-82951-CRJ11
 Debtor.                                          )

                            NOTICE OF APPEARANCE AND
                  REQUEST FOR SERVICE OF ALL PAPERS AND PLEADINGS

           COMES NOW Joe A. Joseph who hereby appear in this case as attorney for National

 Bank of Commerce and requests: (1) that his name at the address listed below be added to the

 matrix; and (2) that he be served with copies of all notices, orders, reports, notices of hearings,

 motions and any and all papers and pleadings filed in the above-referenced case. The address for

 the requester is as follows:

                            Joe A. Joseph
                            Burr & Forman LLP
                            420 20th Street North, Suite 3400
                            Birmingham, Alabama 35244
                            Phone: (205) 251-3000
                            email: jjoseph@burr.com



                                                      /s/ Joe A. Joseph
                                                      Joe A. Joseph
                                                      Attorney for National Bank of Commerce




 32445397 v1


Case 18-82948-CRJ11         Doc 17    Filed 10/09/18 Entered 10/09/18 10:12:53            Desc Main
                                     Document     Page 1 of 2
 OF COUNSEL:

 Burr & Forman LLP
 420 20th Street North, Suite 3400
 Birmingham, Alabama 35244
 Phone: (205) 251-3000
 E-mail:jjoseph@burr.com

                                 CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document has been served by Notice of Electronic
 Filing, or, if the party served does not participate in Notice of Electronic Filing, by U.S. First
 Class Mail, on this the 9th day of October 2018:

 Tazewell Taylor Shepard, IV                      Richard M Blythe
 Sparkman, Shepard & Morris, P.C.                 United States Bankruptcy Administrator
 P.O. Box 19045                                   PO Box 3045
 Huntsville, AL 35804                             Decatur, AL 35602
 E-mail: ty@ssmattorneys.com                      E-mail: Richard_Blythe@alnba.uscourts.gov



                                                     /s/ Joe A. Joseph
                                                     OF COUNSEL




 32445397 v1                                Page 2 of 2           Request for Service of All Papers and Pleadings

Case 18-82948-CRJ11        Doc 17     Filed 10/09/18 Entered 10/09/18 10:12:53                    Desc Main
                                     Document     Page 2 of 2
